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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                WEST PALM BEACH DIVISION
                            Case No. 24-cv-80787-DMM/Matthewman

  MIA WILLIAMS, BRITTANY CALVERT,
  DEDTRA DAVIS, and ALISA LEGGETT,
  on their own behalf and on behalf of those similarly situated,
  Plaintiffs,
  v.
  RETREAT BEHAVIORAL HEALTH, LLC,
  a Florida Limited Liability Corporation, NR
  FLORIDA ASSOCIATES, LLC,
  a Florida Limited Liability Corporation,
  NR PENNSYLVANIA ASSOCIATES, LLC,
  a Pennsylvania Limited Liability Corporation,
  JAMES YOUNG, in his capacity as
  Receiver of NR Pennsylvania Associates, LLC,
  NR CONNECTICUT, LLC, a Connecticut
  Limited Liability Corporation,
  DRPS MANAGEMENT, LLC, a Florida
  Limited Liability Corporation
  COAL LAKE WORTH, LLC, a Florida
  Limited Liability Company,
  COAL CAPITAL HOLDINGS (FLORIDA), LLC,
  a Florida Limited Liability Corporation, COAL
  CONNECTICUT, LLC,
  a Connecticut Limited Liability Corporation
  COAL NEW HAVEN LLC, a Connecticut
  Limited Liability Corporation,
  COAL CAPITAL EPHRATA, LLC,
  a Pennsylvania Limited Liability Corporation,
  COAL CAPITAL GROUP, LLC,
  a New York Limited Liability Corporation,
  CLW HOLDINGS, LLC,
  a Florida Limited Liability Company, HFGC
  FLORIDA, LLC,
  a Florida Limited Liability Company,
  CHRISSY GARIANO, ALEXANDER HOINSKY, DAVID
  SILBERSTEIN, ESTATE OF PETER SCHORR, and
  ESTATE OF SCOTT KOROGODSKY,

        Defendants.                          /
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                   ESTATE OF PETER SCHORR’S MOTION TO DISMISS
                     AND INCORPORATED MEMORANDUM OF LAW


        Defendant, the Estate of Peter Schorr, hereby moves to dismiss Plaintiffs’ Second Amended

 Complaint because it alleges insufficient factual support to hold the Estate of Peter Schorr liable

 for the alleged failure to pay a week worth of wages to Plaintiffs, and as grounds states as follows:

        I.      Plaintiffs’ Allegations

        Plaintiffs are four former employees of one of the Corporate Entities (Plaintiffs sue 13

 separate companies). Plaintiffs allege that they were paid their payroll for May 6 through 19, 2024

 on May 25, 2024 and their payroll for May 20, 2024 through June 2, 2024 on June 10, 2024.

 (Second Amended Complaint, ¶¶115-118) Although Plaintiffs claim these payrolls were late, they

 admit they were paid. (Id.) Peter Schorr died on June 21, 2024. (Id. ¶120). This was the same

 day that Plaintiffs’ payroll from June 3, 2024 through June 16, 2024 would have been due. (Id.

 ¶119). Plaintiffs have now sued the Estate of Peter Schorr, claiming that he was an “employer”

 and responsible for the failure to make payroll the same day that he died.

        In support of their contention that Peter Schorr was their “employer,” Plaintiffs allege that

 he was a manager of Defendant RBH (Id. ¶11), a manager of NR Florida (Id ¶15), a manager of

 NR Pennsylvania (Id ¶20), a manager of NR Connecticut (Id ¶25), the manager of DRPS (Id

 ¶29), that he “exercised control over all Retreat Companies” (Id ¶73), served as the Chief

 Executive Officer for the Retreat Companies (Id ¶88), and was responsible for the day to day

 operations of the Retreat Companies (Id ¶92). Following Peter Schorr’s death on June 21, 2024,

 other persons assumed responsibility for the management of the Retreat facilities. (Id. ¶¶99-100).

 Plaintiffs alleged that, after Peter Schorr died, “there was a company-wide decision to cease

 operations, to terminate employees, and not to pay employees their final wages ….” (Id. ¶155).
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 Based upon these allegations, Plaintiffs conclude that Peter Schorr was Plaintiffs’ employer and

 responsible for Plaintiffs’ wages under the FLSA, Florida Law, Connecticut law, and Pennsylvania

 Law. (Id. ¶105). Plaintiffs’ allegations regarding the Estate of Peter Schorr must fail because (1)

 insufficient factual support has been asserted as to Peter Schorr’s relationship to any of the

 Plaintiffs, and because (2) he cannot be held liable from the grave for decisions that are alleged to

 have occurred on the date of his death and thereafter.

        II.     Standard on a Motion to Dismiss

        Federal Rule of Civil Procedure 8(a)(2) requires a short and plain statement of the

 claim showing that the pleader is entitled to relief. Ashcroft v. Iqbal, 556 U.S. 662, 663

 (2009) (quoting rule). All well-pleaded facts in the plaintiff's complaint and all reasonable

 inferences drawn from those facts must be regarded as true on a motion to dismiss. Jackson

 v. Okaloosa Cnty., Fla., 21 F.3d 1531, 1534 (11th Cir. 1994).

        “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need

 detailed factual allegations . . . a plaintiff's obligation to provide the grounds of his

 entitle[ment] to relief requires more than labels and conclusions, and a formulaic recitation

 of the elements of a cause of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S.

 544, 555 (2007) (internal quotations omitted). Instead, a plaintiff must plead enough facts

 to state a plausible basis for the claim. Id. In other words, a plaintiff’s [f]actual allegations

 must be enough to raise a right to relief above the speculative level.”         Id.; see also 5

 Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1216 (3d ed.

 2013) (“it is clear that in order to satisfy the requirements of Rule 8(a) the pleading must

 contain something more by way of a claim for relief than a . . . statement of facts that merely

 creates a suspicion that the pleader might have a legally cognizable right of action.”).
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        Courts reviewing a complaint on a motion to dismiss are not required to abandon
 all common sense or to ignore their experience. In fact, the opposite is true:
        Determining whether a complaint states a plausible claim for relief will, as
        the Court of Appeals observed, be a context-specific task that requires the
        reviewing court to draw on its judicial experience and common sense. 490
        F.3d, at 157–158. But where the well-pleaded facts do not permit the court
        to infer more than the mere possibility of misconduct, the complaint has
        alleged—but it has not “show[n]”—“that the pleader is entitled to relief.” Fed.
        Rule Civ. Proc. 8(a)(2).

 Iqbal, 556 U.S. 679 (emphasis a dded). A motion to dismiss should be granted when, “on the
 basis of a dispositive issue of law, no construction of the factual allegations will support the
 cause of action.” Marshall Cnty. Bd. Of Educ. v. Marshall Cnty. Gas Dist., 992 F.2d 1171, 1174
 (11th Cir. 1993).


        III.    Plaintiffs’ FLSA Claims and State Law Claims Against the Estate of Peter
                Schorr Should be Dismissed


        The FLSA defines an employer as "any person acting directly or indirectly in the interest

 of an employer in relation to an employee." 29 U.S.C. § 203(d). To hold an individual liable under

 the FLSA, a plaintiff must show that the individual defendant is "a corporate officer with

 operational control of a corporation's covered enterprise" that was "involved in the day-to-day

 operation or [had] some direct responsibility for the supervision of the employee." Alvarez Perez

 v. Sanford-Orlando Kennel Club, Inc., 515 F.3d 1150, 1160 (11th Cir. 2008) (quoting Patel v.

 Wargo, 803 F.2d 632, 637-38 (11th Cir. 1986)).

        To be liable under the FLSA, one must be an “employer”. In deciding whether an

 employment relationship exists under the FLSA, courts look to the “economic reality” of the

 relationship between the parties. Rodriguez v. Jones Boat Yard, Inc., 435 F. App'x 885, 887 (11th

 Cir. 2011). To survive a motion to dismiss, Plaintiffs must plead sufficient facts to make it plausible

 that, as a matter of economic reality, each of the Plaintiffs were employed by each Defendant.
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 White v. J.A. W. Entm’t, Inc., 23- CV-21260, 2023 WL 4763746, at *2 (S.D. Fla. July 26, 2023)

 (“The Court may properly address the economic realities test at the motion to dismiss phase.”);

        The Eleventh Circuit has developed an eight-factor test for assessing the “economic

 reality” of whether an individual is an employee of an employer. See Valle v. AA and K Restoration

 Group, LLC, 2020 WL 10055325, at *4 (S.D. Fla. Sept. 29, 2020). Those eight factors are (1) the

 nature and degree of control of the workers; (2) the degree of supervision, direct or indirect, of the

 work; (3) the power to determine the pay rates or the methods of payment of the workers; (4) the

 right, directly or indirectly, to hire, fire, or modify the employment conditions of the workers; (5)

 preparation of payroll and the payment of wages; (6) ownership of the facilities where work

 occurred; (7) performance of a specialty job integral to the business; and (8) relative investment in

 equipment and facilities. Id. (citing Layton v. DHL Exp. (USA), Inc., 686 F.3d 1172, 1176 (11th

 Cir. 2012).

        Other than alleging (upon information and belief and in a conclusory fashion) that Peter

 Schorr was responsible for the day-to-day operations of some of the corporate co-defendants,

 Plaintiffs provide no information relating to how any actions of Peter Schorr impacted any of the

 Plaintiffs, no information at all about any alleged control over Plaintiffs’ compensation or the terms

 and conditions of their employment, no information regarding any supervision of Plaintiffs by

 Schorr, no information regarding preparation of payroll or payment of wages, no information

 regarding Peter Schorr’s control over Plaintiffs. Absent any factual allegations to support the

 conclusion that Peter Schorr exercised operational control over the terms and conditions of the

 Plaintiffs (and the purported collective Plaintiffs seek to represent), dismissal is appropriate.

        More importantly, it defies logic that the Estate of Peter Schorr could be held liable for

 payroll that was not due until the very day that Mr. Schorr died. There are no allegations that Peter
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 Schorr did anything to prevent the payment of wages to Plaintiffs, and upon his death could no

 longer be considered an “employer” under the FLSA (if he ever was one). See Alvarez Perez, 515

 F.3d at 1154 (owner who no longer participated in operation of business after having a heart attack

 could not be held liable under the FLSA). The Estate of Peter Schorr simply cannot be held liable

 for decisions allegedly made after his death. Second Amended Complaint, ¶155.

        A similar result is compelled under state law. Counts III, IV and Count V allege claims

 pursuant to the Florida Constitution, Article X, Section 24, CT Gen Stat § 31-72, and 43 P.S. §

 260.10, respectively. As the Estate of Peter Schorr was not an employer of Plaintiffs pursuant to

 the FLSA, it is not an employer pursuant to the Florida Constitution or the Pennsylvania Minimum

 Wage Act (“PMWA”) or the Wage Payment and Collection Law (“WPCL”). Florida Constitution,

 Article X, Section 24(b) (providing that the term employer shall “shall have the meanings

 established under the federal Fair Labor Standards Act (FLSA).”); Bansept v. G&M Auto., 557

 F.Supp. 3d 584, 590 (WPCL and PMWA are construed consistent with the FLSA).

        Moreover, Counts IV and Count V also are claims pursuant to the Connecticut minimum

 wage statute, CT Gen Stat § 31-72, and 43 P.S. § 260.10. The word “Employer” as used in

 Conn.Gen.Stat.Ann. § 31-72 means an individual who is possessed with the ultimate authority and

 control of a corporation who is the one who sets the hours of employment and pay wages and is

 specifically the one who failed to pay the wages. See Butler ex rel. Skidmore v. Hartford Tech.

 Inst., 704 A.2d 222, (Conn. 1997); Mancini v. Concorde Grp., 2014 WL 10575398 (Pa. Super. Ct.

 Septe. 25, 2014) (to hold individual liable under Pennsylvania law, plaintiff must show an active

 role in the decision at issue). Plaintiffs have not alleged any facts that would support a claim under

 Pennsylvania law.
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        IV.     Conclusion

        For the reasons set forth above, all of Plaintiffs’ claims should be dismissed as to the Estate

 of Peter Schorr (Counts II, III, IV and V).

                                       Respectfully Submitted,

                                       /s Robyn S. Hankins
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                              CERTIFICATE OF SERVICE
       The foregoing has been served on February 18, 2025 through the CM/ECF filing
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